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 6                           IN THE UNITED STATES DISTRICT COURT

 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA

 8
     JOSE MANUEL URIBE SOLIS,                             1:03-CV-5535 AWI
 9                                                        (00-CR-5441 AWI
10                       Petitioner,

11                         vs.                            ORDER ON PETITIONER’S MOTION
                                                          FOR APPOINTMENT OF COUNSEL
12
     UNITED STATES OF AMERICA,
13                                                        Doc. # 235
14                        Respondents.
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             On January 24, 2014, the court issued a memorandum opinion and order denying the
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     motion of petitioner Jose Uribe Solis (“Petitioner”) for reconsideration and other related orders.
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     The court granted a certificate of appealability as to the court’s determination that Plaintiff’s
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     ability to challenge his sentence on the basis of new facts indicating that two of the prior
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     convictions used to calculate Petitioner’s sentence had vacated due to Gideon was barred by
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     Petitioner’s general waiver of rights as set forth in his plea agreement. The court did so noting
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     that the factual context of the case rendered the issue of the scope of Petitioner’s waiver open to
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     reasonable debate. Currently before the court is a request by Petitioner for appointment of
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     counsel. The appointment is requested based on comments made by the court regarding the
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     unusual factual context of the case and the admitted legal uncertainty on the part of the court as
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     to the applicability of Petitioner’s general waiver in the unusual factual context at bar.
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             While the facts pertinent to Petitioner’s request to have his sentence recalculated are
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     unusual and the legal issues surrounding the request for resentencing are somewhat complex, the
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     issue before the appellate court is fairly straightforward. This court has gone to some effort to
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     flesh out the available facts relevant to the consideration of Petitioner’s request for recalculation
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     of his sentence and to frame the issue upon which the request for recalculation of the sentence
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     was denied and the certificate of appealability was granted. The appellate court in this instance
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     will be asked to make a determination that is quite narrow; did this court err when it decided that
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     Petitioner’s general waiver of rights to appeal and collateral attack encompass his right to
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     request to recalculation of his sentence in light of the factual context presented by this case? In
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     terms of what Petitioner needs to place before the appellate court, the factual context and legal
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     questions have already been set forth in the court’s opinion. Petitioner has certainly shown he
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     possesses the resources to make a simple and concise statement of the issue on appeal. Little, if
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     anything, is required in addition. Because this court has done its best to set forth the factual
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     context and its legal reasoning, little more is required from Petitioner.
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             The court finds that the appointment of counsel is unlikely to have any impact at all on
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     the determination of the issue on appeal. Petitioner’s request for appointment of counsel is
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     therefore DENIED.
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     IT IS SO ORDERED.
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     Dated: February 21, 2014
22                                                SENIOR DISTRICT JUDGE

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